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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division


QUILL INK BOOKS LIMITED,                               )
                                                       )
          Plaintiff,                                   )
                                                       )
          v.                                           ) Civil Action No. 1:19-cv-476-LO-MSN
                                                       )
RACHELLE SOTO a/k/a ADDISON CAIN,                      )
                                                       )
          Defendant.                                   )

                       PLAINTIFF’S MEMORANDUM OF LAW
                         IN OPPOSITION TO DEFENDANT’S
                MOTION TO DISMISS THE FIRST AMENDED COMPLAINT

          Defendant Ms. Cain again asks the Court to dismiss the three state claims pled in this

action. The claims have been pled to be independent of the process and substance of filing a false

take-down notice under the Digital Millenniums Copyright Act, as required by the Court’s prior

rulings. The Amended Complaint states a claim for defamation, for tortious interference with

business, and for statutory conspiracy, independent of the DMCA claim. The motion should be

denied.

                                            STANDARD

          So much of Ms. Cain’s argument, particularly on the defamation claim, relies on what she

asserts she meant or did, that we are well-reminded this is a motion under Rule 12(b)(6), not

Rule 56.

          Rule 12(b)(6) permits dismissal of a complaint, or a claim within a complaint, based on the

plaintiff's “failure to state a claim upon which relief can be granted.” Rule 8 of the Federal Rules

requires “a short and plain statement of the claim showing that the pleader is entitled to relief,”

Fed.R.Civ.P. 8(a)(2), so as to “ ‘give the defendant fair notice of what the . . . claim is and the
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grounds upon which it rests,’ ” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555, 127 S.Ct. 1955,

167 L.Ed.2d 929 (2007) (quoting Conley v. Gibson, 355 U.S. 41, 47, 78 S.Ct. 99, 2 L.Ed.2d 80

(1957)) (omission in original). The Supreme Court has interpreted the pleading standard set forth

in Rule 8(a) as requiring that a complaint include enough facts for the claim to be “plausible on its

face” and thereby “raise a right to relief above the speculative level on the assumption that all the

allegations in the complaint are true (even if doubtful in fact).” Id. at 555, 570, 127 S.Ct. 1955

(internal citations omitted). The plausibility requirement is “not akin to a ‘probability

requirement,’ but it asks for more than a sheer possibility” that a defendant is liable. Ashcroft v.

Iqbal, 556 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) (quoting Twombly, 550 U.S. at

556, 127 S.Ct. 1955).

       Because a 12(b)(6) motion tests the sufficiency of a complaint without resolving factual

disputes, a district court “ ‘must accept as true all of the factual allegations contained in the

complaint’ and ‘draw all reasonable inferences in favor of the plaintiff.’ ” Kensington Volunteer

Fire Dep't, Inc. v. Montgomery Cnty., Md., 684 F.3d 462, 467 (4th Cir.2012) (quoting E.I. du Pont

de Nemours & Co. v. Kolon Indus., Inc., 637 F.3d 435, 440 (4th Cir.2011)). A complaint may

therefore survive a motion to dismiss “even if it appears ‘that a recovery is very remote and

unlikely.’ ” Id. (quoting Scheuer v. Rhodes, 416 U.S. 232, 236, 94 S.Ct. 1683, 40 L.Ed.2d 90

(1974)).

       Although the truth of the facts alleged in a complaint is assumed, this Court is not bound

by the “legal conclusions drawn from the facts” and “need not accept as true unwarranted

inferences, unreasonable conclusions, or arguments.” E. Shore Markets, Inc. v. J.D. Assocs. Ltd.,

213 F.3d 175, 180 (4th Cir. 2000). Moreover, since the Court “may consider documents attached

to the complaint or the motion to dismiss ‘so long as they are integral to the complaint and




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authentic,’ ” Kensington Volunteer Fire Dep't, 684 F.3d at 467 (quoting Philips v. Pitt Cnty.

Memorial Hosp., 572 F.3d 176, 180 (4th Cir.2009)), Quill does not object to the Court’s

consideration of the materials submitted by Ms. Cain relating to the Oklahoma litigation – integral

to the estoppel issue – and has appended additional materials from that case to this brief.

                                          ARGUMENT

I.     THE AMENDED COMPLAINT STATES A CLAIM OF DEFAMATION

       “The Complaint makes clear that ‘Zoey Ellis’ is a brand used by Quill for the identification

of a principal author, who is published by Quill. For all practical purposes, at the time the

defamatory statements were made, ‘Zoey Ellis’ was virtually synonymous with Quill.”

       This, verbatim, is the proposition Ms. Cain argues is intended to “mislead” the Court and

a “cynical and deliberate attempt to ‘play fast and loose’ with the facts.” This is the proposition

Ms. Cain argues Quill should be estopped from arguing. But this, quoted verbatim from Quill’s

brief on the earlier motion to dismiss, and quoted accusingly by Ms. Cain in her brief now, is

nothing other than a straightforward proposition of true and consistent fact. 1 To argue otherwise

misreads the documents from the Oklahoma litigation, ignores a century of settled Virginia law on

defamation, and attempts badly to misapply governing law on estoppel.

       Indeed, after reading Ms. Cain’s brief repeatedly, it is hard to discern any inconsistency at

all between the allegations in the Complaint and Amended Complaint in this case, and the position

Quill successfully took in the Western District of Oklahoma – resulting in a judgment entered by

the United States District Court for the Western District of Oklahoma that Ms. Cain now labels a



1
       The quoted first paragraph of this section is from Quill’s Opposition to Motion to Dismiss
the [Initial] Complaint, ECF 20, at 20, which itself cites the original Complaint, ECF 1, at
Paragraph 14. It is quoted by Ms. Cain at page 10 of her Brief in Support of Motion to Dismiss the
Amended Complaint, ECF 29.



                                                 3
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“sham.”      The position articulated by Quill in Oklahoma tracked precisely the Amended

Complaint’s allegations in this Court, ECF 27: “These claims arise out of actions taken by Cain

. . . to defame Quill and its Myth of Omega series written under the ‘Zoey Ellis’ brand of

books. . . .” Amended Complaint, Paragraph 2. “’Zoey Ellis’ is a pseudonym used by Quill for

the identification of a principal author, a British subject resident in England, who is published by

Quill, for the purposes of publishing certain books.” Amended Complaint, Paragraph 14. Zoey

Ellis is a British subject; she is not party to this case and was not a party to the Oklahoma case

when judgment was entered against Ms. Cain’s publisher; her name is described in both cases as

a pseudonym as well as a brand name for books published by Quill. 2 As Quill responded in the

Oklahoma case when asked by Ms. Cain’s publisher for “Zoey Ellis” address, birthday, and U.K.

National Insurance health services identification number – in an Interrogatory expressly directed

by Cain’s publisher “To the author known as Zoey Ellis” -- that interrogatory was “directed to a

third-party individual who is not a named party in the present action.” 3 No motion to compel was

filed on that issue.

        Ms. Cain’s argument on estoppel, like her argument that the defamatory falsehoods she

spread were not “of or concerning” Ms. Ellis’ publisher, is wrong on the law as well as wrong on

the facts.




2
        See, e.g., Attachment 1 to this Memorandum, Defendant’s [Blushing Books] Responses to
Plaintiff’s Third Set of Discovery Requests [in the Oklahoma Litigation], at pages 8-9 (Quill
asking, and Blushing Books responding to, multiple interrogatories about “the ‘Zoey Ellis’ brand
of books”).

3
        Exhibit A to Ms. Cain’s Brief in Support of Motion to Dismiss Amended Complaint, which
is Quill’s Objections and Responses to Ms. Cain’s publisher’s discovery requests in the Oklahoma
case. Interrogatory 1, at 4-5.


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       A.       The Defamation was “Of or Concerning” Quill

       A claim of defamation lies even if the statements do not expressly mention the plaintiff, so

long as the statement is “of or concerning” the plaintiff. This has been Virginia law for over a

century. In Ewell v. Bouthwell, 138 Va. 402, 121 S.E. 912 (1924), the then-Supreme Court of

Appeals held:

                If . . . the publication does in fact contain such a personal imputation
                against the plaintiff, then no artful obscurity in the form of its
                expression will be allowed to defeat the plaintiff’s right of action.

138 Va. at 415. The question is whether the statement is made regarding such a small group (here,

a group of one – Quill’s principal author) that the plaintiff may be identified as one regarding

whom the statement was made.

                If the class or group involved is a very large one, and there is little
                or nothing which applies to the particular person who brings the
                action, his right of recovery will generally be denied.

                                                * * *

                On the other hand, if the language employed is directed towards a
                comparatively small or restricted group of persons, then any
                member thereof may sue. For instance, charges against a public
                board with a few members may support an action for damages to a
                single member of that board; and so libelous language against the
                verdict of a jury may be the subject of an action by a single member
                of that jury.

138 Va. at 409-410.

       That is precisely the case here. Ms. Cain repeatedly referred to the work of Ms. Ellis, that

is, her books published by Quill, as “plagiarism” and “stolen from me.” Amended Complaint,

Paragraph 81. Ms. Cain stated, “Zoey Ellis’ book infringed on my copyright,” and was “theft of

my work.” Amended Complaint, Paragraph 83. Ms. Cain also stated that the Oklahoma lawsuit

(in which Quill itself was plaintiff) was “frivolous,” defamation directed at Quill. Amended




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Complaint, Paragraph 81. Quill, as the publisher and seller of all “Zoey Ellis” books, is an entity

that suffered and continues to suffer both reputational and financial harm – despite all of the

reseller’s eventual rejection of the invalid DMCA notices, Quill is the entity that suffers injury and

will continue to be injured until the allegations of plagiarism and theft – post-DMCA allegations -

are retracted or disproven in this case. Amended Complaint, Paragraph 75.

        Does an allegation that it is publishing works that are plagiarized, works that are stolen,

works that infringe another’s copyright, constitute defamation against a publisher? The question

seems to answer itself in the affirmative. A plaintiff “need not show that he was mentioned by

name in the publication. Instead, the plaintiff satisfies the ‘of or concerning’ test if he shows that

the publication was intended to refer to him and would be so understood by persons reading it who

knew him. . . . In other words, the test is met if the plaintiff shows that the publication was ‘in its

description or identification such as to lead those who knew or knew of the plaintiff to believe

that the article was intended to refer to (him).” Gazette, Inc. v. Harris, 229 Va. 1, 37, 325 S.E.2d

713 (1985) (multiple citations omitted) (emphasis added).

        It bears emphasis that this is a motion to dismiss, not a motion for summary judgment. The

question is whether Quill has alleged enough to enable it to prove that those who knew Quill

published “Zoey Ellis” books – Quill’s principal author – would have taken the statements to be

of or concerning Quill, as well as of or concerning Ellis. At the very least, this is a question of

fact.

               It is not necessary that the plaintiff be designated by name; it is
               enough that there is such a description or reference to him that those
               who hear or reasonably understand the plaintiff to be the person
               intended. Extrinsic facts may make it clear that a statement refers
               to a particular individual although the language used appears to
               defame nobody.




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Id., citing Restatement (Second) of Torts § 564 comment b as “consistent with the rule in Virginia”

(“even though the publication on its face did not refer to the [plaintiffs] by name, the

contemporaneous facts sufficiently connected the publication to the plaintiffs to establish an issue

for the jury”). See WJLA-TV v. Levin, 264 Va. 140, 153, 564 S.E.2d 382 (2002) (statements by a

defendant regarding one specific subject, some of which identify plaintiff and some of which do

not, to be considered together to determine whether statements are “of or concerning” plaintiff,

even where publication identifying plaintiff is not made until after those statements which do not

identify plaintiff); General Products Co. v. Meredith Corp., 526 F. Supp. 546, (E.D. Va. 1981)

(Merhige, J.) (where article defamed manufacturers of a specific type of product, manufacturer of

that product who was not named in the article and asserted it was one of a relatively small group

of such manufacturers stated claim for defamation for purposes of motion to dismiss;

determination of whether class size is sufficiently small “must await the development of further

evidence”); Graham v. Young Broadcasting of Richmond, Inc., 60 Va. Cir. 376 (owner of

corporation may sue separately for defamatory statements made concerning corporation; whether

persons who knew corporation and owner “could dissociate the two is a question for the jury”). 4




4
        The case upon which Ms. Cain relies is not to the contrary. In Va. Citizens Def. League v.
Couric, 910 F.3d 780, 783 (2018), the Fourth Circuit devoted little analysis to the “of and
concerning” argument. The opinion does indicate, however, that the Court of Appeals agreed with
the District Court that the appellant organization could not reasonably be construed as unfit as an
advocacy organization, based on the failure of a few of its members, none of whom were leaders
within the organization, to answer a complex question posed by an interviewer. Id. at 785. That is
not this case.



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       B.      The Elements of Estoppel Are Missing

       Ms. Cain was, on her own motion, dismissed from the Oklahoma case based on a lack of

personal jurisdiction.5 The appropriate doctrine in this case is, therefore, non-mutual offensive

collateral estoppel. The Court of Appeals for the Fourth Circuit has set out clear standards for the

application of estoppel in these circumstances:

               In order for nonmutual offensive collateral estoppel to apply, the
               party asserting it must establish that:

               (1) the issue sought to be precluded is identical to the one previously
               litigated;

               (2) the issue was actually determined in the prior proceeding;

               (3) that determination was a critical and necessary part of the
               decision in the prior proceeding;

               (4) the prior judgment must be final and valid; and

               (5) the party to be estopped must have had a full and fair opportunity
               to litigate the issue in the prior proceeding.

AvalonBay Communities, Inc. v. Wilden, C.A. 1:08-cv-777, 2008 WL 2431572 (E.D. Va. Aug. 7,

2008) (O’Grady, J.), citing Sedlack v. Braswell Services Group, Inc., 134 F.3d 219, 224 (4th Cir.

1998), aff’d, 392 Fed. Appx. 209 (4th Cir. Aug. 24, 2010). Accord, Treadwell Original Drifters,

LLC v. Original Drifters, Inc., C.A. 1:15-cv-580, 2016 U.S.Dist.LEXIS 184587 (E.D. Va. Jan. 26,

2016) (O’Grady, J.), citing In re: Microsoft Corp. Antitrust Litig., 355 F.3d 522, 526 (4th Cir.




5
        Quill brought that case in Oklahoma due to the presence of Quill’s U.S. distributor in
Oklahoma, and that Oklahoma entity’s receipt of a DMCA notice from Ms. Cain. Ms. Cain was
dismissed from the case on jurisdictional grounds. Her publisher later formally admitted,
“Ms. Cain misrepresented her involvement with the filing of the DMCA notices against the ‘Zoey
Ellis’ brand of books to the United States District Court for the Western District of Oklahoma.”
“Admitted. Cain misrepresented her involvement.” Request for Admission 28 and response by
Blushing Books, Attachment 1, at page 28.


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2004), aff’d, 670 Fed. Appx. 90 (4th Cir. Feb. 24, 2017). While the fourth factor is present here

(the fifth was neither required nor undertaken in Oklahoma), none of the first three are:

      The “issues” are hardly identical. Not once in the Oklahoma case was the “issue” (of

       whether Quill, as publisher suffering loss of revenue and reputation from the persistence

       of the allegations of plagiarism against its principle author, may recover for defamation)

       raised, briefed, litigated, or decided.

      Whatever issue Ms. Cain seeks to estop Quill from raising here, it was not “actually

       determined” in the Oklahoma case. The judgment there was entered under Fed. R. Civ. P.

       68, and it is black-letter law that “a judgment entered by confession, consent, or default”

       does not have a preclusive effect on subsequent litigation because “none of the issues is

       actually litigated.” Restatement (Second) of Judgments, § 27, as cited in Treadwell

       Original Drifters, supra, at *14.

      What Ms. Cain seeks to estop Quill from arguing in this case was certainly not a “critical

       and necessary part” of the Oklahoma judgment. Quill alleged a large number of claims in

       Oklahoma, only one of which involved defamation. Claims were asserted for a variety of

       business torts, copyright abuse, and under the Digital Millennium Copyright Act for the

       filing of a false DMCA take-down notice. The judgment entered by the Court in the

       Western District of Oklahoma stipulated that “the take-down notices transmitted pursuant

       to the Digital Millennium Copyright Act are invalid,” as well as that “Zoey Ellis’ Myth of

       Omega series does not plagiarize Addison Cain’s Alpha’s Claim series.” Attachments 2

       (Offer of Judgment) and 3 (Judgment entered on Offer of Judgment in Oklahoma

       litigation). Nothing suggests that the issue of whether Quill may maintain a cause of action




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        for defamation based on statements referring to its principal author was critical or necessary

        to that judgment.

        Of course, and as discussed above in the introduction to this Section of the brief, there are

 no inconsistent statements of fact. The Oklahoma case proceeded on the basis that Ms. Cain’s

 publisher made statements about Zoey Ellis that injured Quill. This case is proceeding on the same

 basis. Ms. Cain’s estoppel argument is wrong on the facts and law.

        C.       Accusations of “Theft” and “Plagiarism” are Not Statements of Opinion

        The multiple statements contained in the February 2019 Facebook post and the March 11,

 2019 Internet article constitute defamation, and in most cases also are defamatory per se. They

 are not statements of opinion.

        The February 2019 Facebook post, directed to thousands of Ms. Cain’s followers and

 shared hundreds of times, stated:

                The Oklahoma lawsuit was frivolous, and that justice had prevailed because it had

                 been rightfully dismissed.

                The Oklahoma lawsuit had been filed to deflect criticism from the plagiarism of

                 Ms. Cain’s work.

                That the “Zoey Ellis” books “have already stolen enough from me.”

        The March 11, 2019 Facebook post, republished an unknown number of times but at least

 thrice, including on Twitter and Go Fund Me, stated:

                “Zoey Ellis’ book infringed on my copyright” and Cain was asked for information

                 on “my book that she infringed.”

                The book constituted “theft of my work.”

                The book constituted “unauthorized uses of my works.”




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                 The Oklahoma lawsuit contained “every horrible lie one could think to say about

                  me.”

         Each of these statements can be proven true or false, which is the test in Virginia for

 determining whether a defamatory statement is one of fact or mere opinion. Handberg v.

 Goldberg, ___ Va. ___, 831 S.E.2d 700 (2019), provides recent Virginia Supreme Court guidance

 on this issue:

                  [F]or a statement to be actionable as defamation, “it must ‘have a
                  provably false factual connotation and thus [be] capable of being
                  proven true or false.’ ” Schaecher, 290 Va. at 98, 772 S.E.2d 589
                  (quoting Cashion v. Smith, 286 Va. 327, 336, 749 S.E.2d 526
                  (2013)). In other words, “[t]he verifiability of the statement in
                  question [is] a minimum threshold issue. If the defendant’s words
                  cannot be described as either true or false, they are not actionable.”
                  Id. (quoting Potomac Valve & Fitting, Inc. v. Crawford Fitting Co.,
                  829 F.2d 1280, 1288 (4th Cir. 1987)). From a constitutional
                  perspective, there is simply “no constitutional value in false
                  statements of fact.” Tharpe v. Saunders, 285 Va. 476, 481, 737
                  S.E.2d 890 (2013) (quoting Gertz v. Robert Welch, Inc., 418 U.S.
                  323, 340, 94 S.Ct. 2997, 41 L.Ed.2d 789 (1974)).

 831 S.E.2d at 705. Each of the statements alleged here meet this test 6:

                 Was the Oklahoma lawsuit filed, inter alia, by Quill frivolous, or was it not

                  frivolous? That can be determined; indeed, the entry of judgment in favor of Quill

                  has determined it.




 6
         This exercise is not intended to be comprehensive or to include all of the defamatory
 statements every time the Brief refers to them, but only to demonstrate that the statements alleged
 are not opinion. Although not required to do so in federal court, see Skillstorm v. Electronic Data
 Sys., LLC, 666 F. Supp.2d 610, 619 (E.D. Va. 2009), Quill has attempted to set forth, in so far as
 currently known to it, each defamatory statement with particularity.



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               Did the books published by Quill constitute “theft of my work,” “stolen” from

                Ms. Cain, or not? These statements are either true – her work was stolen and there

                was theft – or not.

               Did the books published by Quill constitute plagiarism of Ms. Cain’s books?

                Again, this can be determined readily. Indeed, Ms. Cain already has made that

                factual determination (Cain statement that Quill book is “not outright plagiarism,”

                Amended Complaint at Paragraph 41), as has her publisher Blushing Books

                (stipulation that “Zoey Ellis’ Myth of Omega series does not plagiarize Addison

                Cain’s Alpha’s Claim series” embodied in Oklahoma federal court judgment).

               Did the books published by Quill infringe on Ms. Cain’s copyright? Again, this is

                a straightforward question with which courts wrestle every day.

 To hold that accusations of theft, stealing, plagiarism, copyright infringement, and the filing of

 frivolous litigation are, as Ms. Cain urges, “nothing more than Cain’s personal conclusion and

 subjective view about the information presented,” Brief in Support, ECF 29 at 17, would eviscerate

 the law of defamation in Virginia. The statements are, in fact, even more susceptible to empirical

 disproof than the statements the Virginia Supreme Court held to constitute false statements of fact

 in Handberg, supra. Those false statements of fact, not opinion, included claims that the plaintiff

 educational advocate engaged in “maximizing its billing,” was billing for services not provided,

 and that the advocate could not be trusted because she was “so opportunistic and aggressive about

 pursuing money.” If those statements are fact, not opinion, then the statements of theft, plagiarism,

 and copyright infringement in this case are false statements of fact as well. Accord, Steele v.

 Goodman, 382 F. Supp. 3d 403 (E.D. Va. 2019) (Lauck, J.) (statements that plaintiff was a “serious

 con man” and his program a “serious fraud” constituted per se defamatory statements of fact, not




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 opinion); Lanier v. Squiccinari, 101 Va. Cir. 283 (Chesapeake March 11, 2019) (statements that

 plaintiff made “notable errors,” “incorrectly observed conditions,” and made “unreasonable

 recommendations” in a report are actionable statements of fact, not opinion). Cf. Sroufe v.

 Waldron, ___ Va. ___, 829 S.E. 262 (2019) (statement that educator did not ensure his team

 understood criteria for program held to be opinion, when defendant testified that “reasonable

 people could disagree” “in my opinion” about the statement). 7

        Accusations of theft and plagiarism are not opinions; they are per se defamatory

 accusations of an unlawful act. Food Lion, Inc. v. Melton, 250 Va. 144, 258 S.E.2d 580 (1995)

 (accusation of theft is per se defamatory and does not require proof of damages). Accusations of

 plagiarism and copyright infringement are not opinions; they are per se imputation (whether made

 against a writer or the publisher of the writings) of unfitness to perform, or lack of integrity in the

 performance of, a profession or trade. Yeagle v. Collegiate Times, 255 Va. 293, 497 S.E.2d 136

 (1998), citing Fleming v. Moore, 221 Va. 884, 275 S.E.2d 635 (1981) (discussing per se standard);

 Tronfeld v. Nationwide Mutual Ins. Co., 272 Va. 709, 713, 636 S.E.2d 447 (2006) (statements

 “which prejudice such person in his or her profession or trade” are per se defamatory).

        D.      The Amended Complaint Adequately Alleges Republication

        Ms. Cain’s argument that she did not authorize the republication of her statements

 addresses only part of Virginia law on the issue. The general principles of republication were

 articulated by the Virginia Supreme Court in Weaver v. Beneficial Finance Co., 199 Va. 196, 199–

 200, 98 S.E.2d 687 (1957):




 7
        Of course, even if Ms. Cain had couched her accusations by saying, “in my opinion, there
 was plagiarism,” that would not convert the statement into an opinion. Hatfill v. New York Times
 Co., 416 F.3d 320, 333-34 and n.6 (4th Cir. 2005). But she did not.



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                Under the weight of authority the author of a libel or slander is not
                liable for its voluntary and unjustifiable repetition, without his
                authority or request, by others over whom he has no control, either
                as on a direct cause of action or by way of aggravation of damages,
                and such repetition cannot be considered in law a necessary, natural
                and probable consequence of the original slander or libel. But the
                rule has one important qualification. It is a general principle that
                every one is responsible for the necessary consequences of his act,
                and it may be that the repetition of a slander or libel may be the
                natural consequence of the original publication, in which case the
                author of the original defamatory matter would be liable. And where
                the words declared on are slanderous per se their repetition by others
                is the natural and probable result of the original slander.

 (Emphasis added.) These well-settled general principles suggest three responses to Ms. Cain’s

 assertion that she did not as a matter of fact authorize republication (an assertion, one would

 suppose, perhaps suited for a summary judgment motion but not a motion to dismiss).

        First, the original speaker is liable for republication if the republication is authorized, or if

 the republication is a natural and probable consequence of the original publication. One does not

 post defamatory statements on the Internet and Facebook without understanding that one “natural

 and probable” consequence is that those statements will be republished. The Amended Complaint

 alleges, for example, that the defamatory February 2019 post was directed to thousands of

 Ms. Cain’s “followers” and has been “shared” on hundreds of other Facebook pages. Amended

 Complaint, Paragraph 80. That’s what Facebook, after all, is for. And that is consistent with the

 other allegations regarding Ms. Cain’s conduct – that, for example, her March 11, 2019 web post

 was shared on Twitter by Jennifer Bene, self-described as one of Ms. Cain’s “absolute besties (i.e.,

 best friend),” who also expressly republished the allegation that the lawsuits were filed “after she

 got caught #plagiarizing.”




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         The specific allegation that republication was a foreseeable consequence of the February

 2019 and March 11, 2019 Internet posts is made expressly in the Amended Complaint at

 Paragraphs 87, 88, 90, 91, and 92; nothing more is required on a motion to dismiss. 8

         Second, Ms. Cain may have authorized, but has certainly ratified, the republication of her

 March 11, 2019 Internet article by the “Go Fund Me” post, intended to raise money for her defense.

 Although, absent discovery, we do not yet know if she has accepted this money, she has allowed

 this solicitation to continue in her name. As of the original filing date of this case last Spring, that

 site (incorporating the republication of the March 11, 2019 Internet article) had been shared over

 850 times. Again, that is the entire purpose of such posts – to be republished, a natural and

 foreseeable consequence of placing defamatory material on the Internet. (Paragraph 92 of the

 Amended Complaint also alleges that the republication was a foreseeable consequence of the

 March 11, 2019 post.)

         Third, where the words are defamatory per se – as accusations of theft, frivolous litigation,

 copyright infringement, and plagiarism certainly are to a publisher – under Virginia law

 republication is presumed to be the natural and probable result. Weaver, supra.




 8
          Ms. Cain’s suggestion that the March 20, 2019 republication of her post, “Do I believe she
 plagiarized my story. Yes.” as well as the initial publication of that statement, referred to in
 Paragraphs 85 and 89 of the Amended Complaint, were a 2019 repost of a 2016 statement that did
 not relate to Quill or Ms. Ellis, appears to be correct. Those statements form no part of the claims
 in this case, were included in the form they were by inadvertence for which counsel is responsible,
 and may be disregarded. Quill will not rely on that statement in any way in this litigation. Should
 Ms. Cain deem it necessary to file a motion to strike those paragraphs, counsel for Quill will
 consent.



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        E.       No Privilege or Preemption Applies

        Quill pleads, permissibly, in the alternative that if Blushing Books is not a co-conspirator,

 then the statements made by Ms. Cain to Blushing also are defamatory. Those statements are set

 out verbatim (so far as they are currently known) in the Amended Complaint.

        First, Ms. Cain argues that such an alternative claim would be pre-empted by the Copyright

 Act, because “all” of those communications were made “in furtherance” of the filing of a DMCA.

 This would stretch the preemption principle recognized by this Court in analyzing the initial

 Complaint past its breaking point.     Not all communications were “in furtherance” of filing a

 DMCA:

                The April 16, 2018 e-mail in which Ms. Cain concludes that the Quill books are

                 “not outright plagiarism” so there is nothing that can be done. Paragraph 41.

                The April 16, 2018 e-mail in which Ms. Cain concludes that, since the Quill books

                 did not quote her work, “there really is probably nothing we can do.” Paragraph

                 42.

                The April 19, 2018 e-mail in which Ms. Cain communicated a draft Facebook post

                 to Blushing, for use after “the books come down.” Paragraph 51.

        Second, Ms. Cain argues in passing that, since Blushing was the exclusive publisher of her

 book series (a fact not drawn from the Amended Complaint), it had a “common interest” with

 Ms. Cain such that their communications are privileged “and not subject to claims of defamation.”

 Brief in Support, ECF 29, at page 19. Ms. Cain then, unusually, cites Larimore v. Blaylock, 259

 Va. 568, 528 S.E.2d 119 (2000), for this proposition. Larimore, of course, holds nothing of the

 sort. Rather, the teaching of Larimore is that a claim of common-interest privilege is for a

 qualified, not an absolute, privilege – and that qualified privilege is overcome by the existence of




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 malice (which is, of course, alleged throughout the Amended Complaint). “Communications

 between persons on a subject in which the persons have an interest or duty are occasions of

 privilege. However, the privilege attaching to such occasions is a qualified privilege which may

 be defeated if the plaintiff proves that the defamatory statement was made maliciously.” 259 Va.

 at 572.    (Larimore also was concerned with the notion of privilege in intra-company

 communications, not        communications between publisher and author.                These latter

 communications may not be those made in a “common interest,” particularly where, as here, the

 author ignores the publisher’s advice, demands that the publisher take action it appears reluctant

 to take, and later recognizes that the author has made misrepresentations regarding the subject

 matter. Not every communication is made in the context of a common interest.)

 II.    THE AMENDED COMPLAINT STATES
        A CLAIM FOR TORTIOUS INTERFERENCE

        Ms. Cain’s primary argument – that the only injury Quill has suffered was caused by the

 false DMCAs and accordingly this claim remains pre-empted – is wrong. Paragraph 75 of the

 Amended Complaint alleges:

                On several occasions, business partners have informed Quill that the

                vendor refuses to work with Quill to sell Quill’s challenged books

                while there remains a pending claim of plagiarism. Other vendors

                have indicated that they cannot proceed with planned sales of Quill’s

                books while there is a pending claim Quill is a plagiarist.




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 Paragraph 108 pleads:

                Cain intentionally interfered with Quill’s prospective business

                relations and expectancies by causing a breach and termination of

                those relationships and expectancies, through her continuing

                defamation of Quill.

 Paragraph 110 contains a corresponding allegation regarding existing business relationships.

 Paragraph 113 pleads:

                Cain’s interference caused Quill to suffer economic losses and other

                damages as set forth herein.

        Ms. Cain’s only other concern is that the Amended Complaint pleads the elements of this

 claim, rather than facts supporting it. The allegations of the existence of contracts, expectancies,

 and injury are sufficient and plain. This more than meets the “notice” pleading standard. Yukon

 Pocahontas Coal Co. v. Island Creek Coal Co., Inc., 428 F.Supp.2d 490, 496 (2006). “A plaintiff

 is only required to include such detail that will notify the defendant of the claims against him.” Id.

 III.   THE AMENDED COMPLAINT PLEADS A CONSPIRACY CLAIM

        Ms. Cain is correct that an underlying wrongful act is necessary to support the statutory

 conspiracy claim; this claim is viable only to the extent the independent defamation claim remains

 viable, given the Court’s earlier decision respecting Copyright Act preemption. Moreover, tortious

 interference with a business relationship can constitute an unlawful act for the purpose of pleading

 a claim for civil conspiracy. Dunlap v. Cottman Transmission Systems, LLC, 287 Va. 207, 218,

 754 S.E.2d 313, 319 (2014).

        Ms. Cain is wrong, however, that this claim fails, or is pre-empted, or even depends on

 whether Blushing Books and Ms. Cain were legally able to conspire. Each of the overt acts pled




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 in Paragraph 126 of the Amended Complaint occurred independently of the DCMA filing (or, in

 one case, if we believe Ms. Cain’s factual characterization, was a telephone call meant to pressure

 Amazon to take down Quill’s books more quickly – a factual issue).

        As to the legal capacity to conspire, the mere fact that Ms. Cain hired Blushing Books to

 publish some (or all) of her works does not constitute the publisher as her agent for all purposes. 9

 We do not have the contract between Blushing and Ms. Cain; what it says is a factual issue. A

 publisher certainly can be an “agent” for purposes of printing and shipping a book, while not being

 an agent for other, even unlawful, purposes. The activities described in Paragraphs 93 and 94, for

 example, relate to an agreement not to publish Ms. Cain’s books, but to completely shut down a

 proposed new series under the Zoey Ellis name – a series unrelated to the DMCAs. The allegations

 describe a plan to “shut her down completely as an author,” (emphasis added), and few if any

 publisher-author agency agreements include within their scope the destruction of other authors or

 publishers. Similarly, Paragraphs 95 and 96 relate to actions taken at the end of May and beginning

 of July, 2018, well after the filing of the DMCA notices, and describe plans to encourage fake

 sales and returns to injure Quill. That is not within the scope of a normal agency agreement.

        This issue arises most often in the context of allegations that corporations have conspired

 with their employees. In such cases, the scope of agency is usually equivalent to the scope of

 employment, and determined by reference to general principles. Here, Ms. Cain is arguing that

 Blushing was her agent for all purposes – for encouraging false sales and encouraging purchasers

 to lie when returning books, or for shutting down competitors. As in cases where employee-



 9
         The fact that an Oklahoma witness list referred to Blushing Books as “agent and publisher”
 is neither dispositive nor relevant. Witness lists are made for identification, not for purposes of
 legal argument, and Paragraph 118 of the Amended Complaint expressly recognizes, in this case,
 the possibility that Blushing and Cain are not co-conspirators.



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 employer relationships are at issue, the scope of agency here is an issue of fact, not amenable to

 disposition on motion to dismiss. (And it is certainly not amenable to dismissal under Rule 12(b)(6)

 based on factual assertions that some of the things the two planned to do did not come to fruition,

 or did not cause injury; at any rate, attempting to conspire violates the statute as well.) See, e.g.,

 Fortress Holdings II, LLC v. Patty, 95 Va. Cir. 402 (Norfolk 2017) (“At a minimum, the inquiry

 as to whether Van and Patty were acting within the scope of their agency—a question not addressed

 in the Complaints—is a question of fact that “requires an investigatory hearing” in this context.”),

 citing Fox v. Deese, 234 Va. 412, 428 (1987); Fidelity Nat. Title Ins. Co. v. Washington Settlement

 Group, 87 Va. Cir. 77 (Fairfax 2013) (overruling demurrer as to single-actor issue because

 “Whether Ms. Oh and Mr. Lee were, in fact, acting as agents . . . within the scope of their

 employment is a factual issue to be determined by the evidence. Accordingly, on demurrer, the

 Court holds that Plaintiffs’ civil conspiracy claims are not barred by the intracorporate immunity

 doctrine.”), citing Fox; Colgate v. Disthene Group, 86 Va. Cir. 218 (Buckingham 2013) (Roush,

 J.) (“This doctrine, known as the “intracorporate immunity” doctrine, has an exception: if an

 employee, officer, or agent has an “independent personal stake” in the conspiracy, a conspiracy

 with the corporation may be found. Moreover, where an agent of a corporation engages in activity

 that is not authorized by the corporation, i.e., activity beyond the scope of their employment, a

 conspiracy with the corporation may be found.”), quoting Buffalo Wings Factory, Inc. v. Mohd,

 622 F.Supp.2d 325, 335–336 (E.D.Va. 2007).

        The scope of agency requires factual development after discovery, and dismissal is

 inappropriate.




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                                         CONCLUSION

         This Court should deny the Motion to Dismiss the Amended Complaint.

 October 15, 2019                                Respectfully submitted,

                                                 QUILL INK BOOKS LIMITED

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 15, 2019, I electronically filed the foregoing Plaintiff’s
 Opposition to Defendant’s Motion to Dismiss the Complaint with the Clerk of Court using the
 CM/ECF system, which will automatically provide notice to all counsel of record.


                                                     /s/ John M. Bredehoft




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